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     , Ao 2458 (CASO) (Rev. 12/1 1) Judgment in a Criminal Case
                Sheet I




                                              UNITED S TATES D ISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                          STEPHANIE INGRAM (1)                                     Case Number: 21CR 0976-DMS

                                                                                    Karren Kenney
                                                                                   Defendant's Attorney
    REGISTRATION NO. 33602-509

    •
    THE DEFENDA T:
    181 pleaded guilty to count(s) One of the Superseding Information

    D     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _
          after a plea of not guilty .
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
    Title & Section                          Nature of Offense                                                                              Nu mber(s)
18 USC 1001                           FALSE STATEMENT TO A FEDERAL OFFICER                                                                        I




        The defendant is sentenced as provided in pages 2 through _ _ _3_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 181 Count(s) in underlying Information
                                                            ----------------------------
                                                                    is 181
                                                                                                                         --
                                                                           are D dismissed on the motion of the United States.

 181 Assessment: $100.00

 18] Fine waived                                    D Forfeiture pursuant to order filed         _ _ _ _ _ _ _ _ _ _ , included herein .
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT WDGE

                                                                                                                                              21 CR0976-DMS
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AO 2458 (CASO) (Rev. 12/ 1 I) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                               Judgment- Page       2    of        3
DEFENDANT: STEPHANIE INGRAM (1)
CASE NUMBER: 21CR0976-DMS
                                                                    PROBATION
The defendant is hereby sentenced to probation for a term of:
Three (3) years

The defendant shall not commit another federal , state, or local crime.
For offenses committed on or after September 13, I 994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision , unless otherwise ordered by court.                                        --


•        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

         The defendant shall not possess a firearm, ammunition, destructi ve device, or any other dangerous weapon.
         The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the D A Analysis
         Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
         The defendant shall comply with tlie requirements of the Sex Offender !legistration and Notification Act (42 U.S.C. § 16901 , et seq.) as directed
         by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
         was convicted of a qualifying offense. (Check if applicable.)

•        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or restitution obligation , it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below) . The defendant shall
also comply with the special conditions imposed .


                                         STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities ;
    5)     the defendant shall work regularly at a lawful occupation , unless excused by the probation officer for schooling, training , or other
           acceptable reasons ;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used , distributed, or administered ;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a felony, unless granted permission to do so by the probation officer;
 I 0)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
           any contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant ' s
           criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
           the defendant's compliance with such notification requirement.



                                                                                                                                        21 CR0976-DMS
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       AO 2458 (CASD) (Rev. 12/ 11 Judgment in a Criminal Case
                     Sheet 3 - Special Conditions
                                                                                                        Judgment- Page _ _3_   of      3
       DEFENDANT: STEPHANIE INGRAM (1)
       CASE NUMBER: 21CR0976-DMS




                                                SPECIAL CONDITIONS OF SUPERVISION
D Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within    24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D ot reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D N ot associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form .
~   Participate in a program of mental health treatment if directed by the probation officer. The Court authorizes the release of the presentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
    release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
    rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.


D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed .
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit witho ut approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both .
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
~ Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, if directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

~ Submit your person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S.C . § 1030(e)(I)), other electronic
   communications or data storage devices or media,] or office, to a search conducted by a United States probation officer. Failure to submit to
   a search may be grounds for revocation of release. The offender must warn any other occupants that the premises may be subject to
   searches pursuant to this condition. An officer may conduct a search pursuant to this condition only when reasonable suspicion
   exists that the offender has violated a condition of his supervision and that the areas to be searched contain evidence of this violation . Any
   search must be conducted at a reasonable time and in a reasonable manner.
[X]Be monitored for a period of 10 months, with the location monitoring technology at the discretion of the probation officer. The offender
   must abide by all technology requirements and must pay all or part of the costs of participation in the location monitoring program, as
   directed by the court and/or the probation officer. In addition to other court-imposed conditions of release, the offender's movement in the
   community must be restricted as specified below:
   (Home Detention)
   You are restricted to your residence at all times except for employment; education; religious services; medical, substance abuse, or mental
   health treatment; attorney visits; court appearances; court-ordered obligations; or other
   activities as preapproved by the probation officer.                                                                             21CR0976-DMS
